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                                   5                                UNITED STATES DISTRICT COURT

                                   6                            NORTHERN DISTRICT OF CALIFORNIA

                                   7                                        SAN JOSE DIVISION

                                   8

                                   9    ADTRADER, INC., ET AL.,                           Case No. 17-cv-07082-BLF
                                  10                  Plaintiffs,
                                                                                          ORDER DENYING PLAINTIFFS'
                                  11            v.                                        MOTION FOR TEMPORARY
                                                                                          RESTRAINING ORDER AND ORDER
                                  12    GOOGLE LLC,                                       TO SHOW CAUSE WHY A
Northern District of California
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                                                                                          PRELIMINARY INJUNCTION
                                  13                  Defendant.                          SHOULD NOT ISSUE
                                  14                                                      [Re: ECF 32]
                                  15

                                  16          Before the Court is Plaintiffs’ motion for temporary restraining order and order to show
                                  17   cause why a preliminary injunction should not issue (“Motion for TRO”). Mot., ECF 32. On
                                  18   April 12, 2018, Plaintiffs filed the instant motion seeking to enjoin Defendant Google LLC
                                  19   (“Google”) from “suspending or de-activating the accounts of any AdWords advertisers” that
                                  20   decline to accept Google’s September 1, 2017 modifications to its Advertising Program Terms.
                                  21   Proposed Order, ECF 32-1. According to Plaintiffs, Google sent an email to Plaintiff AdTrader,
                                  22   Inc., stating that “any AdWords advertiser that continued to use the AdWords platform as of April
                                  23   23, 2018 would be automatically deemed to have consented to the modified terms to the Google
                                  24   Inc. Advertising Program Terms (‘AdWords Agreement’) that Google had unilaterally pushed
                                  25   through on September 1, 2017.” Mot. 1. The Court ordered Google to file a response. ECF 35.
                                  26   On April 17, 2018, Google filed its opposition to the instant motion. Opp’n, ECF 37. For the
                                  27   reasons discussed below, Plaintiffs’ Motion for TRO is DENIED.
                                  28
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                                         I.   BACKGROUND
                                   1
                                              Google offers advertisement services for website publishers and advertisers. Website
                                   2
                                       publishers can use Google’s DoubleClick Ad Exchange (“AdX”) service to sell advertisement
                                   3
                                       space on their websites. FAC ¶¶ 26–28, ECF 29. AdX allows website publishers to display
                                   4
                                       advertisements in exchange for a share of the advertising revenue paid to Google by advertisers
                                   5
                                       for each “impression” (i.e., each time a unique user views the publisher’s website displaying the
                                   6
                                       advertisements). Id. ¶ 26. Advertisers can use Google’s AdWords Advertising Program
                                   7
                                       (“AdWords”), DoubleClick Ad Exchange Buyer (“AdXBuyer”) and DoubleClick Bid Manager
                                   8
                                       (“DBM”) to place advertisements. Id. ¶¶ 24, 26–28. AdWords advertisements are displayed in a
                                   9
                                       variety of formats such as text and/or images, alongside or above search results, on webpages, in
                                  10
                                       e-mails, on blogs, and/or in videos. Id. ¶ 24.
                                  11
                                              A number of Plaintiffs who used Google’s advertisement services bring this purported
                                  12
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                                       class action against Google for its fraudulent promises that it would issue refunds or credits to
 United States District Court




                                  13
                                       advertisers for invalid activity on their advertisements served through AdX. FAC ¶¶ 1, 48, 61–65.
                                  14
                                       In particular, Plaintiff AdTrader, Inc. (“AdTrader”) manages on-line advertising for both
                                  15
                                       advertisers and website publishers, and places advertising bids on AdX through DBM. Id. ¶¶ 46,
                                  16
                                       48. Plaintiffs Classic and Food EOOD, LML Consult Ltd., Ad Crunch Ltd., and Fresh Break Ltd.
                                  17
                                       engaged AdTrader to advertise their businesses on the Internet. Id. ¶¶ 61–64. Plaintiff
                                  18
                                       Specialized Collections Bureau, Inc. (“SCB”) used AdWords to advertise its business on the
                                  19
                                       Internet and some of its advertisement impressions came from AdX publisher websites. Id. ¶ 65.
                                  20
                                       In their complaint, Plaintiffs allege that Google has refused to pay AdX website publishers their
                                  21
                                       accrued revenues, claiming that it would return that money to advertisers because of some
                                  22
                                       purported violation of Google’s policy by those publishers. Id. ¶ 3. However, according to
                                  23
                                       Plaintiffs, Google never returned that money to many advertisers “bilking both the advertisers who
                                  24
                                       paid Google to deliver their ads and the AdX publishers who displayed those ads.” Id. Based on
                                  25
                                       these allegations, Plaintiffs filed this action on December 13, 2017. ECF 1. The first amended
                                  26
                                       complaint was filed on March 20, 2018.
                                  27
                                              The AdWords Agreement
                                  28
                                                                                         2
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                                   1           To use AdWords, advertisers must agree to the Google’s Advertising Program Terms

                                   2   (“AdWords Agreement”). See FAC ¶ 45. AdTrader agreed to the AdWords Agreement on

                                   3   February 21, 2013. Id. Section 11 of the 2013 AdWords Agreement provides that:

                                   4
                                                       11 Term. Google may add to, delete from or modify these Terms at
                                   5                   any time without liability. The modified Terms will be posted at
                                                       www.google.com/ads/terms. Customer should look at these Terms
                                   6                   regularly. The changes to the Terms will not apply retroactively
                                                       and will become effective 7 days after posting. However, changes
                                   7                   specific to new functionality or changes made for legal reasons will
                                                       be effective immediately upon notice. Either party may terminate
                                   8                   these Terms at any time with notice to the other party, but (i)
                                                       campaigns not cancelled under Section 4 and new campaigns may
                                   9                   be run and reserved and (ii) continued Program Use is, in each case
                                                       subject to Google’s then standard terms and conditions for the
                                  10                   Program available at www.google.com/ads/terms. Google may
                                                       suspend Customer’s ability to participate in the Programs at any
                                  11                   time. In all cases, the running of any Customer campaigns after
                                                       termination is in Google’s sole discretion.
                                  12
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                                       Ex. 1 to Kamburov Decl., ECF 33-1 (emphasis added).
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                                  13
                                               On August 25, 2017, the Wall Street Journal published an article titled “Google Issuing
                                  14
                                       Refunds to Advertisers Over Fake Traffic, Plans New Safeguard.” Ex. 2 to Kamburov Decl.,
                                  15
                                       ECF 33-2. A few days later, on September 1, 2017, Google released new terms governing the use
                                  16
                                       of AdWords (the “September 2017 AdWords Agreement”). Ex. 4 to Kamburov Decl., ECF 33-4.
                                  17
                                       Google last updated the terms in 2013. Christow Decl. ¶ 3, ECF 37-1.
                                  18
                                               The September 2017 AdWords Agreement contains a new arbitration clause. In relevant
                                  19
                                       part, section 13 states that:
                                  20
                                               13 Dispute Resolution Agreement.
                                  21
                                                       A. Arbitration of disputes. Google, Customer, and Advertiser agree
                                  22                   to arbitrate all disputes and claims between Google and Customer or
                                                       between Google and Advertiser that arise out of or relate in any way
                                  23                   to the Programs or these Terms. This agreement to arbitrate
                                                       (“Dispute Resolution Agreement” or “Section 13”) is intended to be
                                  24                   broadly interpreted and includes, for example:

                                  25                   1. claims brought under any legal theory;
                                  26                   2. claims that arose before Customer or Advertiser first
                                                       accepted any version of these Terms containing an arbitration
                                  27                   provision;
                                  28   Ex. 4 to Kamburov Decl. (emphasis added). The September 2017 AdWords Agreement permits
                                                                                        3
                                          Case 5:17-cv-07082-BLF Document 38 Filed 04/19/18 Page 4 of 10




                                   1   customers to opt out of the new Dispute Resolution Agreement. See id. at § 13(F).

                                   2          According to Google, it undertook a robust notification campaign to inform AdWords

                                   3   customers of the September 2017 AdWords Agreement. Christow Decl. ¶ 8. For example, around

                                   4   August 17, 2017, even before the publication of the Wall Street Journal article or the official roll

                                   5   out of the September 2017 AdWords Agreement, Google posted an article on the “Inside

                                   6   AdWords blog” (adwords.blogspot.com) and summarized the new terms. Id. ¶ 9. The blog post

                                   7   informed customers about opting out of the new Dispute Resolution Agreement. Id.; Ex. D to

                                   8   Christow Decl., ECF 37-5. Beginning in September 2017, AdWords customers began seeing a

                                   9   red-alert bar notice at the top of their AdWords accounts which asked them to review the

                                  10   September 2017 AdWords Agreement and choose to accept, decline, or defer by clicking a radio

                                  11   button at the bottom of the notice. Id. ¶ 10.

                                  12          On April 5, 2018, AdTrader received an email from Google stating that continued use of
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                                  13   AdWords would be considered an acceptance of the September 2017 AdWords Agreement,

                                  14   effective April 23, 2018. Ex. 5 to Kamburov Decl., ECF 33-5. The next day, counsel for

                                  15   AdTrader emailed Google and inquired whether “Google intends to enforce [the] retroactive

                                  16   arbitration provision [in the September 2017 AdWords Agreement] against AdTrader, and the

                                  17   absent class members, if they continue to use AdWords as of April 23, 2018.” Ex A to Song

                                  18   Decl., ECF 34-1. Google replied by stating that Google will not argue that AdTrader has accepted

                                  19   the new arbitration provision and will not compel AdTrader into arbitration in this action. Ex. B

                                  20   to Song Decl., ECF 34-2.

                                  21          Nevertheless, Plaintiffs filed the instant motion and seek to enjoin Google from suspending

                                  22   or deactivating the accounts of any AdWords advertisers who decline to accept the September

                                  23   2017 AdWords Agreement. Mot. 2. Plaintiffs also request that Google be ordered to give notice

                                  24   to all AdWords advertisers that an injunction has been issued against Google. Id.

                                  25    II.   LEGAL STANDARD
                                  26          The standard for issuing a temporary restraining order is identical to the standard for

                                  27   issuing a preliminary injunction. Stuhlbarg Int’l Sales Co., Inc. v. John D. Brush & Co., 240 F.3d

                                  28   832, 839 n.7 (9th Cir. 2001); Lockheed Missile & Space Co. v. Hughes Aircraft, 887 F. Supp.
                                                                                         4
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                                   1   1320, 1323 (N.D. Cal. 1995). An injunction is a matter of equitable discretion and is “an

                                   2   extraordinary remedy that may only be awarded upon a clear showing that the plaintiff is entitled

                                   3   to such relief.” Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 22 (2008). “A

                                   4   plaintiff seeking a preliminary injunction must establish that he is likely to succeed on the merits,

                                   5   that he is likely to suffer irreparable harm in the absence of preliminary relief, that the balance of

                                   6   equities tips in his favor, and that an injunction is in the public interest.” Id. at 20.

                                   7           The plaintiff bears the burden of making a clear showing on these elements and on

                                   8   entitlement to this extraordinary remedy. Earth Island Inst. v. Carlton, 626 F.3d 462, 469 (9th

                                   9   Cir. 2010). In particular, a “plaintiff must show that she ‘is likely to suffer irreparable harm in the

                                  10   absence of preliminary relief.’” Boardman v. Pac. Seafood Grp., 822 F.3d 1011, 1022 (9th Cir.

                                  11   2016) (citing Winter, 555 U.S. at 20) (emphasis added); see also Am. Trucking Associations, Inc.

                                  12   v. City of Los Angeles, 559 F.3d 1046, 1052 (9th Cir. 2009) (“[A]n injunction cannot issue merely
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                                  13   because it is possible that there will be an irreparable injury to the plaintiff; it must be likely that

                                  14   there will be.” (emphasis added)). The plaintiff must also “demonstrate immediate threatened

                                  15   injury as a prerequisite to preliminary injunctive relief.” Boardman, 822 F.3d at 1022 (emphasis

                                  16   in original). Speculative injury is not sufficient to warrant granting an injunction. Id. If the

                                  17   plaintiff has not established the required thresholding showing of irreparable harm, the court may

                                  18   deny the requested injunction on that basis without addressing the other three Winter factors.

                                  19   Heineke v. Santa Clara Univ., No. 17-CV-05285-LHK, 2017 WL 4098887, at *4 (N.D. Cal. Sept.

                                  20   15, 2017).

                                  21   III.    DISCUSSION
                                  22           Plaintiffs seek a TRO to enjoin Google from “suspending or deactivating the accounts of

                                  23   any AdWords advertisers” who decline to accept Google’s September 2017 AdWords Agreement.

                                  24   Mot. 2. Plaintiffs argue that the new agreement’s “retroactive arbitration and class waiver terms”

                                  25   are unenforceable. Id. at 6–15.

                                  26           As discussed above, Plaintiffs must demonstrate a likelihood of irreparable harm to prevail

                                  27   on their request for a TRO. See, e.g., Boardman, 822 F.3d 1011, 1022 (9th Cir. 2016). However,

                                  28   for the reasons stated below, the Court finds that Plaintiffs have failed to establish that they are
                                                                                           5
                                           Case 5:17-cv-07082-BLF Document 38 Filed 04/19/18 Page 6 of 10




                                   1   likely to suffer irreparable harm, which alone is a sufficient basis to deny the instant motion.

                                   2   Heineke, 2017 WL 4098887, at *4.

                                   3          Plaintiffs argue that AdTrader and the proposed class members face irreparable harm on

                                   4   the grounds that they will suffer a number of non-monetary “injuries.” Mot. 15–16. Specifically,

                                   5   Plaintiffs contend that if their AdWords accounts become deactivated they would (1) be unable to

                                   6   use Google’s other free online services that seamlessly integrate with AdWords, (2) lose customer

                                   7   data accumulated over the years while using AdWords, (3) be unable to use “rich media creatives”

                                   8   that they developed and that are incompatible with other online advertising platforms, and (4) lose

                                   9   the money, time, and efforts that they have spent on training employees to use Google’s

                                  10   advertising products. Id. (citing Kamburov Decl. ¶¶ 10–14). 1

                                  11          Google responds that Plaintiffs’ alleged harm would be “entirely self-inflicted.” Opp’n 20.

                                  12   Google further contends that nothing it “has done or will do” would trigger Plaintiffs’ “litany of
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                                  13   hardships” and any such theoretical harm could be readily cured. Id. at 20–21. In Google’s view,

                                  14   there is no irreparable harm because Plaintiffs and other U.S. AdWords customers are free to opt

                                  15   out of the new Dispute Resolution Agreement and continue using AdWords without any

                                  16   interruption. Id. at 21.

                                  17          The Court agrees with Google’s arguments. Harm does not constitute irreparable injury if

                                  18   it is self-inflicted. K.D. v. Oakley Union Elementary Sch. Dit., No. C 07-00920 MHP, 2008 WL

                                  19   360460, at *11 (N.D. Cal. Feb. 8, 2008); California Pawnbrokers Ass'n, Inc. v. Carter, No.

                                  20   216CV02141, 2016 WL 6599819, at *10 (E.D. Cal. Nov. 8, 2016) (holding that harm caused by

                                  21   the plaintiffs’ voluntary choice did not support a showing of irreparably injury); Citizens of the

                                  22   Ebey's Reserve for a Healthy, Safe & Peaceful Env't v. U.S. Dep't of the Navy, 122 F. Supp. 3d

                                  23   1068, 1083 (W.D. Wash. 2015) (“[A] party may not satisfy the irreparable harm requirement if the

                                  24   harm complained of is self-inflicted.” (citation omitted)). Here, Plaintiffs’ purported injury that

                                  25

                                  26   1
                                         Google asserts that paragraphs 10 to 14 of the Kamburov Declaration lacks foundation and thus
                                  27   should be ignored. Opp’n 21–22. However, “the Federal Rules of Evidence do not strictly apply
                                       to preliminary injunction proceedings.” Disney Enterprises, Inc. v. VidAngel, Inc., 224 F. Supp.
                                  28   3d 957, 966 (C.D. Cal. 2016), aff'd, 869 F.3d 848 (9th Cir. 2017) (citation omitted). Thus, the
                                       Court may consider inadmissible evidence in the context of an injunction proceeding. See id.
                                                                                         6
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                                   1   would result from the deactivation of their accounts is based on their voluntary choice to decline

                                   2   the new terms in the September 2017 Agreement as explained below.

                                   3          Plaintiffs’ arguments are premised on their belief that they must decline the September

                                   4   2017 AdWords Agreement in order to avoid being subject to the new Dispute Resolution

                                   5   Agreement provision contained therein. See Mot. 4. That premise is incorrect. As Defendants

                                   6   argue (Opp’n 21), advertisers are free to accept the new terms in the September 2017 AdWords

                                   7   Agreement but decline the Dispute Resolution Agreement provision without their accounts

                                   8   becoming “paused.” Indeed, Google’s email notice and the September 2017 AdWords Agreement

                                   9   make it clear that advertisers can freely opt out of the Dispute Resolution Agreement provision.

                                  10   For example, the April 5, 2018 email notice that AdTrader received expressly states that “[i]n the

                                  11   U.S. and Brazil only, you can follow the instructions in the dispute resolution section of the terms

                                  12   to opt out of this provision.” Ex. A to Song Decl. The September 2017 AdWords Agreement
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                                  13   instructs how customers can decline the Dispute Resolution Agreement provision. Specifically,

                                  14   the first paragraph of the September 2017 AdWords Agreement states that:

                                  15                  Please read these Terms carefully. They require the use of binding
                                                      individual arbitration to resolve disputes rather than jury trials or
                                  16                  class actions. If Customer wishes, Customer may opt out of the
                                                      requirement to arbitrate disputes by following the instructions
                                  17                  in Section 13(F) below within 30 days of the first acceptance date
                                                      of any version of these Terms containing an arbitration
                                  18                  provision.
                                       Ex. 4 to Kamburov Decl. (emphasis added). Section 13(F) provides instructions on how
                                  19
                                       customers may opt out within 30 days of accepting the September 2017 AdWords Agreement:
                                  20
                                                      F. 30-day opt out period. Customer (both for itself and for any
                                  21                  Advertiser that Customer represents) and Advertiser have the right
                                                      to opt out of this Dispute Resolution Agreement. A Customer or
                                  22                  Advertiser who does not wish to be bound by this Dispute
                                                      Resolution Agreement (including its waiver of class and
                                  23                  representative claims) must notify Google as set forth below within
                                                      30 days of the first acceptance date of any version of these Terms
                                  24                  containing an arbitration provision (unless a longer period is
                                                      required by applicable law). Customer’s or Advertiser’s notice to
                                  25                  Google under this subsection must be submitted via webform
                                                      available at adwords.google.com/nav/arbitration. An opt-out
                                  26                  notice does not revoke or otherwise affect any previous arbitration
                                                      agreement between Customer and Google or between Advertiser
                                  27                  and Google.
                                  28   Id. (emphasis added). Clicking the URL “adwords.google.com/nav/arbitration” in § 13(F) takes
                                                                                         7
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                                   1   customers to a webpage that allows them “to select how they wish to resolve disputes with

                                   2   Google.” Christow Decl. ¶ 6. After entering their customer ID, they can select “opt out of

                                   3   arbitration” and click “submit.” Id. The customers’ choice to opt out does not affect their ability

                                   4   to use AdWords. Id.

                                   5          As such, the evidence is clear that advertisers can freely opt out of the Dispute Resolution

                                   6   Agreement without their accounts becoming deactivated. Plaintiffs provide no contrary evidence.

                                   7   Hence, an advertiser’s decision to decline the September 2017 AdWords Agreement to avoid

                                   8   being subject to the new arbitration provision is a voluntary choice given that he or she can easily

                                   9   opt out from that provision as discussed above. Any harm stemming from such a decision is self-

                                  10   inflicted and does not constitute irreparable harm. K.D., 2008 WL 360460, at *11.

                                  11          Plaintiffs also have not shown immediate threatened injury. Boardman, 822 F.3d at 1022

                                  12   (holding that the plaintiff must “demonstrate immediate threatened injury as a prerequisite to
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                                  13   preliminary injunctive relief”). Although advertisers’ accounts would be paused after they decline

                                  14   the September 2017 AdWords Agreement, the advertisers can later resume using AdWords by

                                  15   accepting the new terms. Christow Decl. ¶ 11. The advertisers can still elect to opt out of the

                                  16   Dispute Resolution Agreement at that time. Id. All of their account data and other tools would

                                  17   remain intact. Id. Hence, Plaintiffs have not demonstrated “immediate threatened injury” because

                                  18   the advertisers can resume their AdWords accounts at any time and then opt out of the Dispute

                                  19   Resolution Agreement even if the accounts became deactivated at one point. Boardman, 822 F.3d

                                  20   at 1022.

                                  21          Moreover, Google has committed that it will not seek to compel arbitration against

                                  22   AdTrader and SCB. Opp’n 5–6, 9. In fact, Google states that it has waived its right to arbitrate

                                  23   against AdTrader and SCB under the September 2017 AdWords Agreement.2 Id. at 11.

                                  24   Therefore, the named Plaintiffs do not face any “immediate threatened injury” that warrants the

                                  25   requested injunctive relief.

                                  26
                                       2
                                  27    Google represents that the other named Plaintiffs Classic and Food EOOD, LML Consult Ltd.,
                                       Ad Crunch Ltd., and Fresh Break Ltd. are not signatories to the AdWords Agreement. Opp’n 6.
                                  28   Plaintiffs have provided no contrary evidence. In fact, Plaintiffs assert only that AdTrader and
                                       SCB are “signatories to the AdWords Agreement.” See Mot. 6.
                                                                                       8
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                                   1           In addition, the named Plaintiffs may not seek a TRO or a preliminary injunction on behalf

                                   2   of putative class members before class certification unless an exception applies. Zepeda v. U.S.

                                   3   I.N.S., 753 F.2d 719, 727 (9th Cir. 1983); M.R. v. Dreyfus, 697 F.3d 706, 738 (9th Cir. 2012)

                                   4   (“Subject to exceptions not applicable here, ‘[w]ithout a properly certified class, a court cannot

                                   5   grant relief on a class-wide basis.’” (alterations in original) (quoting Zepeda, 753 F.2d 719, 728

                                   6   n.1 (9th Cir.1985))). This limitation is based on the “general rule that a federal court may not

                                   7   attempt to determine the rights of persons not before the court.” Bresgal v. Brock, 843 F.2d 1163,

                                   8   1170 (9th Cir. 1987) (citing Zepeda, 753 F.2d at 727). To be clear, there are exceptions to this

                                   9   limitation. For example, class-wide relief may be necessary to ensure that the named plaintiffs

                                  10   receive complete relief or if there is a constitutional violation that has become sufficiently

                                  11   pervasive. See, e.g., Lavan v. City of Los Angeles, 797 F. Supp. 2d 1005, 1019 (C.D. Cal. 2011)

                                  12   (holding that a class-wide injunction against the City was proper because the City could not
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                                  13   possibly determine whether the confiscated property belonged to the named plaintiffs or absent

                                  14   class members); Nat'l Org. For Reform of Marijuana Laws (NORML) v. Mullen, 608 F. Supp. 945,

                                  15   964 (N.D. Cal. 1985), remanded on other grounds, 796 F.2d 276, 276 (9th Cir. 1986) (holding that

                                  16   a class-wide injunction against government agencies was appropriate due to evidence that

                                  17   suggested widespread Fourth Amendment violations). The exceptions are inapplicable. Here,

                                  18   Plaintiffs do not contend that Google is unable distinguish their accounts from those of putative

                                  19   class members or that there is a widespread constitutional violation. Given that the evidence does

                                  20   not support the existence of irreparable harm, the Court finds that Plaintiffs have not shown that an

                                  21   exception applies to this case.

                                  22           As discussed above, Plaintiffs have failed to satisfy their burden to show irreparable harm.

                                  23   This failure alone is sufficient to permit the Court to, in its discretion, deny Plaintiffs’ request for a

                                  24   TRO. Heineke, 2017 WL 4098887, at *4; see also Standard Innovation Corp. v. Lelo (Shanghai)

                                  25   Trading Co., No. 15-CV-04858-BLF, 2015 WL 6828317, at *2 (N.D. Cal. Nov. 6, 2015).

                                  26   Because Plaintiffs have not met this burden, the Court need not address the parties’ remaining

                                  27   arguments.

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                                         Case 5:17-cv-07082-BLF Document 38 Filed 04/19/18 Page 10 of 10



                                       IV.    CONCLUSION
                                   1
                                              For the foregoing reasons, IT IS HEREBY ORDERED that Plaintiffs’ motion for
                                   2
                                       temporary restraining order and order to show cause why a preliminary injunction should not issue
                                   3
                                       is DENIED. This order is without prejudice to Plaintiffs’ filing a motion for preliminary
                                   4
                                       injunction. In the event that Plaintiffs file a new brief with supporting evidence, incorporation by
                                   5
                                       reference to previously filed documents is not allowed.
                                   6

                                   7
                                              IT IS SO ORDERED.
                                   8

                                   9
                                       Dated: April 19, 2018
                                  10
                                                                                        ______________________________________
                                  11                                                    BETH LABSON FREEMAN
                                                                                        United States District Judge
                                  12
Northern District of California
 United States District Court




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